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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO


MINUTES OF PROCEEDINGS                                           Date: January 19, 2023

BEFORE JUDGE FRANCISCO A. BESOSA                                 CIVIL NO. 12-2039 (FAB)

COURTROOM DEPUTY: Omar Flaquer-Mendoza

COURT REPORTER: Tracy Binder

COURT INTERPRETER: Sonia Crescioni

INTERPRETER FOR Defendants: Lynmar Vera
=====================================================================

UNITED STATES OF AMERICA

        Plaintiff,

v.

COMMONWEALTH OF PUERTO RICO, et al.

      Defendants.
=====================================================================
   An in-Person Status hearing held as ordered at ECF No. 2267. The hearing began at 9:38 a.m.

and ended at 12:38 p.m.

The following persons were present at the hearing:

     1. Federal Monitor John Romero and team:

        a. Samantha Rhinerson

        b. Scott Cragg

        c. Donald Gosslin

        d. Rafael Ruiz


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      e. Merángelie Serrano

      f. Alan C. Youngs

      g. Luis Hidalgo

      h. Hipólito Castro

      i. Javier González

      j. Rita Watkins

   2. Special Master Dr. Alejandro Del Carmen and team:

      a. Gilberto Balli, Assistant to Special Master

      b. Gary A. Loeffert, Second Assistant Special Master

   3. For Plaintiff United States of America:

      a. Trial Attorney Luis Saucedo

   4. For Defendants Commonwealth of Puerto Rico and the Puerto Rico Police Bureau:

      a. Counsel Gabriel A. Peñagarícano.

      b. Counsel Rafael E. Barreto-Solá

   5. Office of the Governor (“La Fortaleza”)

      a. María Del Mar Ortiz, Esq., Special Counsel to the Governor

      b. Enrique Volckers, Deputy Chief of Staff

    6. Office of Management and Budget (“OMB”)

      a. Hecrián Martínez, Chief Counsel and liaison on police reform matters

    7. Puerto Rico Innovation and Technology Service (“PRITS”)

      a. Nanette Martínez-Ortiz, Acting Information, and Innovation Officer (“CIIO”), and

Technology Officer (“CTO”) for the Commonwealth of Puerto Rico

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    8. General Services Administration (“GSA”)

          a. Edgardo González, Assistant Administrator for Service to the Agencies

    9. Office for the Administration and Transformation of Human Resources (“OATHR”)

          a. Gustavo Cartagena, Director

    10. Department of Public Safety (“DPS”)

          a. Hon. Alexis Torres, Secretary, and the Governor’s representative for police reform

matters

          b. Rafael Riviere, Deputy Secretary

          c. Arturo Garfer, Assistant Secretary

          d. Miguel E. Bermúdez Mangual, Special Advisor, Federal Affairs Office

          e. José Díaz, Executive Director, Federal Affairs Office

    12. Puerto Rico Police Bureau (“PRPB”)

          a. Commissioner Antonio López

          b. Captain Carlos Figueroa then Director, Reform Office

          c. Juan Carlos Rivera, IT Bureau Director

          d. Ángel Díaz, IT Bureau Deputy Director

          e. Lieutenant Rafael Meléndez Burgos, Director of Internal Affairs (SARP)

          f. Lieutenant Colonel Rolando Trinidad Hernández, Current Director of the Reform Office

          g. Karilyn Díaz León, Esq., Chair of the PRPB Promotion Examination Board

   13. FOMB

          a. Kevin Borja, Senior Associate Analyst on Public Safety Matters



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       The following topics included in the Order Scheduling Status Conference, ECF No. 2267

were discussed:

       A. Overview of CMR-7 Report. On December 15, 2022, the Federal Monitor submitted

          the Seventh Report, ECF No. 2264. On January 16, 2023, the Commonwealth

          submitted the PRPB’s response to the Monitor’s final CMR-7, ECF No. 2290. The

          Monitor provided a brief overview of the report, and summarized PRPB’s overall status

          compliance as of September 30, 2022. The report identified eleven (11) areas for

          improvement, enhancement, or reform in PRPB. 1. Professionalization; 2. Use of Force

          (UOF); 3. Searches and Seizures; 4. Equal Protection and Non-Discrimination; 5.

          Recruitment, Selection and Hiring; 6. Policies and Procedures; 7. Training; 8.

          Supervision and Management; 9. Civilian Complaints, Internal Investigations, and

          Discipline; 10. Community Engagement and Public Information; and 11. Information

          Systems and Technology.

       B. (i) The Sergeant Exam Administered on December 17, 2022. The Commonwealth

          informed that a total of 1,414 candidates took the exam to fill the 562 positions

          available to be promoted to Sergeant. Funding is available for 506 positions. Ms.

          Karilyn Díaz León, Esq., Chair of the PRPB Promotion Examination Board, informed

          on how the board created a new policy and how it worked in accordance with the new

          policy and how the candidates were graded. To maintain transparency, neither the

          Commissioner nor the Secretary were involved. Of 183 possible questions, 80 were on

          the exam. The Board determined that 6 questions in the exams were either flawed or

          considered “memory questions” and were not adjudicated. 70 percent was necessary to

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   pass the exam. A total of 562 candidates passed the exam with the 6 questions having

   not been adjudicated. The Monitor, as instructed by the Court, reviewed the Board’s

   development, administration, and the scoring of the exam. The Monitor also reviewed

   and agreed that the 6 questions that the board determined were flawed were indeed

   flawed. In addition, the Monitor’s Office determined that the Board’s actions

   throughout the process were consistent with the Bureau’s Policy. Commissioner López

   stated that for future exams, the Board recommended questions be first discussed with

   the Secretary and the Commissioner. Commissioner López agreed with the exam as

   given, and in the best interest of transparency, that the Commissioner and the Secretary

   be kept separated from the Board when questions are evaluated and determined to be

   included in the exam. Secretary Torres agreed with the recommendations made by the

   Board that the 6 flawed questions not be considered during the grading of the exam,

   and agreed that the Board findings of the exam, and that for future exams, the

   Commissioner and the Secretary be informed before any adjudication is made. The

   United States was also in agreement that the 6 flawed questions not be adjudicated. The

   Court, after having heard the arguments presented as to this topic, ordered the parties

   to prepare a joint motion with a proposed detailed order for the Court to enter an order

   that the 6 flawed questions not be adjudicated.

   ii. The PRPB Staffing and Supervision Plan. The Commonwealth informed that the

   supervision plan was approved in April 2022, and that it covered its most important

   initiative, the promotions to Sergeant. There are 6 total initiatives in progress, including

   recruiting civilians for administrative positions to allow officers to work in the field. In

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   this area, the Commonwealth is still having difficulties to classify those civil positions,

   and time may be required to determine on how potential candidates would be able to

   compete to fill those vacancies.

   iii. The PRPB Training Plan. The Commonwealth informed that parties have

   discussed the interconnection of training to the different aspects of the consent decree.

   The Training Plan was submitted in draft form on December 22, 2022. A new draft

   incorporating comments will be submitted no later than February 10, 2023. The United

   States informed that they have received the draft. A final plan should be presented to

   the Court within thirty (30) days thereafter once all parties have revised the final draft.

   iv. The Draft Information Technology Action Plan. The Commonwealth informed

   that this topic has been previously covered. The United States indicated that seven (7)

   high priorities have been identified of which two (2) are data networks and radio

   coverage. That every single officer has a radio that properly works for the officers to

   be able to communicate with each other still remains a priority. In addition, there are

   also problems with radio coverage. Two (2) additional initiatives, IT resourcing and

   training, need to be improved to increase the capacity of the IT Bureau. Analytics,

   reporting and RMS Maturity, record management system maturity remain as initiatives.

   The Plan as to those initiatives is expected to be ready by March 15, 2023, and the Final

   Plan is expected to be submitted to the Court by March 31, 2023.

C. Equitable Sharing Program: The United States informed that this program is currently

   suspended while the office within the PRPB that manages the program reviews

   accounting, reporting and the management of the funds. EMLARS, the office within

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   the U.S. Department of Justice, reported that PRPB is not yet in good standing, but

   progress has been made. EMLARS personnel will visit the Puerto Rico Treasury

   Department next week to determine and resolve all pending issues to ensure that PRPB

   complies with the program, to get it back in good standing. By the end of fiscal year,

   June 30, 2023, the balance as reported by EMLASRS is $4.5 million in the DOJ

   account, and almost $3 million in the Puerto Rico Treasury account. The Monitor’s

   Office and the Special Master will be invited to participate in the meeting at the

   Treasury Department. The Court instructed the parties to inform it of the result of the

   meeting.

D. Integrity Audits. As stated by the United States, the policy is still pending. The United

   States received a date when the policy will be available, and when it will be available

   to the Special Master to go through the Paragraph 229 process for review and approval

   by all the parties.



                                      S/ Omar Flaquer-Mendoza
                                      Omar Flaquer-Mendoza
                                      Case Manager/Courtroom Deputy Clerk to
                                      Hon. Francisco A. Besosa,
                                      Senior U.S. District Judge




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